      Case 8:22-bk-10948-SC        Doc 83 Filed 06/21/22 Entered 06/21/22 09:58:12       Desc
                                    Main Document    Page 1 of 5


 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
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 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13            Debtor and Debtor in Possession.         Chapter 11 Cases
      ____________________________________
14
14    In re:                                           STIPULATION BY AND BETWEEN
                                                       THE DEBTORS AND WOODFOREST
15
15    FITNESS ANYWHERE LLC, a Delaware                 NATIONAL BANK REGARDING
16    limited liability company, dba TRX and TRX       INSIDER COMPENSATION
16
      Training,
17
17                                                     [No hearing required]
              Debtor and Debtor in Possession.
18
18    ____________________________________
19
19
20       Affects both Debtors
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21
21      Affects TRX Holdco, LLC only

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22       Affects Fitness Anywhere, LLC only
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      Case 8:22-bk-10948-SC         Doc 83 Filed 06/21/22 Entered 06/21/22 09:58:12               Desc
                                     Main Document    Page 2 of 5


 11          This Stipulation is entered into by and between TRX Holdco, LLC (“Hold Co”) and

 22   Fitness Anywhere LLC, dba TRX and TRX Training (“Product Co” and together with Hold Co

 33   and Product Co, the “Debtors”), the debtors and debtors-in-possession in the above-captioned,

 44   jointly-administered, Chapter 11 bankruptcy cases, on the one hand, and Woodforest National

 55   Bank (the “Bank” together with the Debtors, the “Parties”), on the other hand, with respect to the

 66   following:

 77          A.      The Debtors filed voluntary petitions under chapter 11 of the Bankruptcy Code on

 88   June 8, 2022 (the “Petition Date”).

 99          B.      On the Petition Date, pursuant to Local Bankruptcy Rule 2014-1(a) and the Office
10
10    of the United State Trustee’s Guidelines and Requirements for Debtors in Possession, the
11
11    Debtors submitted and served on the Bank, among others, the following Notices of Setting
12
12    Insider Compensation (collectively, the “Insider Compensation Notices”) for the following
13
13    insiders (the “Insiders”):
14
14                   a. Notice of Setting Insider Compensation for Jurgen Pauquet in the Hold Co
15
15                       case.
16
16                   b. Notice of Setting Insider Compensation for Christopher Fischer in the Hold
17
17                       Co case.
18
18                   c. Notice of Setting Insider Compensation for Mark Reis in the Hold Co case.
19
19                   d. Notice of Setting Insider Compensation for Nasario Mejia in the Hold Co
20
20                       case.
21
21                   e. Notice of Setting Insider Compensation for Michael Zuercher, Law Office of
22
22                       Michael A. Zuercher, Inc., in the Hold Co case
23
23                   f. Notice of Setting Insider Compensation for Randal Hetrick in the Product Co
24
24                       case
25
25                   g. Notice of Setting Insider Compensation for TRX Holdco, LLC in the Product
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26                       Co case.
27
27           C.      The deadline for the Bank to object to the Insider Compensation Notices is June
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28    22, 2022 (the “Objection Deadline”).


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      Case 8:22-bk-10948-SC         Doc 83 Filed 06/21/22 Entered 06/21/22 09:58:12               Desc
                                     Main Document    Page 3 of 5


 11          D.      Subsequent to the Debtors’ submission and service of the Insider Compensation

 22   Notices, the Parties have had discussions about the Insider Compensation Notices.             The

 33   foregoing discussions between the Parties resulted in this Stipulation.

 44          NOW THEREFORE, THE DEBTORS AND THE BANK HEREBY STIPULATE AND

 55   AGREE AS FOLLOWS:

 66          1.      The Debtors shall pay the Insiders as requested in the Insider Compensation

 77   Notices for the period of June 8, 2022 (the Petition Date) through and including July 30, 2022.

 88          2.      The Objection Deadline for the Bank shall be extended to July 20, 2022 (the

 99   “Objection Deadline”).
10
10           3.      If no objection is filed by the Objection Deadline, the Debtors shall be authorized
11
11    to continue paying the Insiders beyond July 30, 2022 in accordance with the Insider
12
12    Compensation Notices.
13
13           4.      If an objection is filed by the Objection Deadline, the Bank consents to the Court
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14    conducting a hearing on shortened time to consider the objection and any response filed by the
15
15    Debtors.
16
16           5.      Following the execution of this Stipulation, the Debtors will file this Stipulation
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17    and upload an order approving this Stipulation with the Court.
18
18
19
19                          [Signature Pages Contained On The Following Page]
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      Case 8:22-bk-10948-SC   Doc 83 Filed 06/21/22 Entered 06/21/22 09:58:12       Desc
                               Main Document    Page 4 of 5


 11   Agreed:

 22   Dated: June 21, 2022                TRX HOLDCO, LLC
 33                                       FITNESS ANYWHERE LLC

 44                                       By:   /s/ Lindsey L. Smith
                                                RON BENDER
 55                                             KRIKOR J. MESHEFEJIAN
                                                LINDSEY L. SMITH
 66
                                                LEVENE, NEALE, BENDER,
 77                                             YOO & GOLUBCHIK L.L.P.
                                                Proposed Attorneys for Chapter 11 Debtors
 88                                             and Debtors in Possession

 99
10
10
      Agreed:
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11
      Dated: June 21, 2022                WOODFOREST NATIONAL BANK
12
12
13
13
14                                        By :______________________________________
14
                                                 MARSHA A. HOUSTON
15
15                                               CHRISTOPHER O. RIVAS
                                                 REED SMITH LLP
16
16                                               Attorneys for Woodforest National Bank
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        Case 8:22-bk-10948-SC                      Doc 83 Filed 06/21/22 Entered 06/21/22 09:58:12                                     Desc
                                                    Main Document    Page 5 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034


A true and correct copy of the foregoing document entitled (specify): STIPULATION BY AND BETWEEN THE DEBTORS
AND WOODFOREST NATIONAL BANK REGARDING INSIDER COMPENSATION will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 21, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 21, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

None.
                                                                                            Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 21, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


None.
                                                                                             Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 21, 2022                  Damon Woo                                                       /s/ Damon Woo
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
